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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

   v.                                                 Case No. 21-CR-00628 (ABJ)

   MICHAEL ANGELO RILEY,

                Defendant.

              GOVERNMENT’S COMPREHENSIVE AMENDED EXHIBIT LIST

           The Government’s comprehensive amended list of exhibits that it may introduce its case-

  in-chief is below, pursuant to the Court’s October 1, 2022, Minute Order. Additionally, pursuant

  to the Court’s Scheduling Order (ECF No. 33), the Government respectfully reserves the right to

  amend its list as necessary in preparation for trial and for any rebuttal to the Defendant’s case-in-

  chief.

                                                                                 Defense
Current    Original                                      Court’s Ruling in       Objs to        Bates
                                Description
Exhibit    Exhibit                                        September 12,         Exhibits       Number
                                of Exhibit
  No.        No.                                          Minute Order           Not Yet
                                                                                Admitted
                         100 Series: J.H. Cellular
                           Telephone Records
                                                                                                USA-
  100                                                                                          003039-
           5.1 – 5.9    J.H. Cell Phone Screenshots           Admitted
                                                                                                USA-
                                                                                               003047
                                                        Admitted assuming
  101                                                      a witness with                        USA-
               7       J.H. Cell Phone Contact Card                                901
                                                        personal knowledge                      003065
                                                          can authenticate
                                                        Admitted assuming
                                                           a witness with                        USA-
  102          6          J.H. Cell Phone Cl Log                                   901
                                                        personal knowledge                      003064
                                                          can authenticate
                           J.H. Cell Phone Text                                                  USA-
  103        N/A                                                                   106
                          Message, 1-16-2021 (1)                                                004277
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                                                                          Defense
Current   Original                                   Court’s Ruling in    Objs to     Bates
                             Description
Exhibit   Exhibit                                     September 12,      Exhibits    Number
                             of Exhibit
  No.       No.                                       Minute Order        Not Yet
                                                                         Admitted
                                                                           (USA-
                                                                          000109;
                                                                            USA-
                                                                          000114)
                                                                             106
                                                                           (USA-
                        J.H. Cell Phone Text                                          USA-
  104       N/A                                                           000109;
                       Message, 1-16-2021 (2)                                        004284
                                                                            USA-
                                                                          000114)

                      200 Series: J.H. Facebook
                               Records
                                                                                      USA-
                       J.H. Facebook Records –
                                                                                     002967-
  200        8           “Friend” Status with            Admitted
                                                                                      USA-
                              Defendant
                                                                                     002969
                                                                                      USA-
                                                                                     002756-
  201        9       J.H. Facebook Records – Post        Admitted
                                                                                      USA-
                                                                                     002757
                     J.H. Facebook Records – Post                        401, 403,    USA-
 201a       N/A
                           (Summary Version)                               901       004489
                        J.H. Facebook Records –                                       USA-
 201.1      10.1                                         Admitted
                       Video Accompanying Post                                       004354
                                                                                      USA-
                       J.H. Facebook Records –
                                                                                     002758-
  202        9           Direct Messages with            Admitted
                                                                                      USA-
                              Defendant
                                                                                     002821
                       J.H. Facebook Records –                                        USA-
                         Direct Messages with                            401, 403,   004431-
 202a       N/A
                         Defendant (Summary                                901        USA-
                               Version)                                              004484
                       J.H. Facebook Records –
                                                                                      USA-
 202.1      10.2         Video Sent by Direct            Admitted
                                                                                     004355
                         Message to Defendant
                       J.H. Facebook Records –
                                                                                      USA-
 202.2      10.4         Video Sent by Direct            Admitted
                                                                                     004357
                         Message to Defendant
                       J.H. Facebook Records –
                                                                                      USA-
 202.3      10.5         Video Sent by Direct            Admitted
                                                                                     004358
                         Message to Defendant

                                                 2
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                                                                          Defense
Current   Original                                   Court’s Ruling in    Objs to     Bates
                             Description
Exhibit   Exhibit                                     September 12,      Exhibits    Number
                             of Exhibit
  No.       No.                                       Minute Order        Not Yet
                                                                         Admitted
                       J.H. Facebook Records –
                                                                                      USA-
 202.4      10.6         Video Sent by Direct            Admitted
                                                                                     004359
                         Message to Defendant
                       J.H. Facebook Records –
                                                                                      USA-
 202.5      10.3         Video Sent by Direct            Admitted
                                                                                     004356
                         Message to Defendant
                                                                                      USA-
                      J.H. Facebook Records –
                                                                         401, 403,   002472-
 202.6      N/A      Newspaper Article Linked in
                                                                         801, 901,    USA-
                     Direct Message to Defendant
                                                                                     002483
                       J.H. Facebook Records –
                                                                                      USA-
 202.7      N/A          Video Sent by Direct                            401, 403
                                                                                     004430
                         Message to Defendant

                       300 Series: Defendant
                        Facebook Records
                                                                                      USA-
                     Defendant Facebook Records                                      002104-
  300       4.3                                          Admitted
                      – Subscriber Information                                        USA-
                                                                                     002111
                                                                                      USA-
                     Defendant Facebook Records                                      004078-
  301       12                                           Admitted
                      - “Friend” Status with J.H.                                     USA-
                                                                                     004080
                     Defendant Facebook Records
                                                                                      USA-
  302       12        – Tag of Defendant in J.H.         Admitted
                                                                                     004081
                                Post
                     Defendant Facebook Records                                       USA-
  303       N/A                                                          401, 403
                     – Direct Message from M.I.                                      004422
                                                                                      USA-
                     Defendant Facebook Records                                      004082-
  304       12                                           Admitted
                     – Direct Messages with J.H.                                      USA-
                                                                                     004083
                                                                                      USA-
                     Defendant Facebook Records
                                                                         401, 403,   004490-
 304a       N/A      – Direct Messages with J.H.
                                                                           901        USA-
                         (Summary Version)
                                                                                     004491
                     Defendant Facebook Records                                       USA-
  305       13                                           Admitted
                      - “Friend” Status with B.S.                                    004220
                     Defendant Facebook Records                                       USA-
  306       13                                           Admitted
                     – Direct Messages with B.S.                                     004231-

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                                                                              Defense
Current   Original                                     Court’s Ruling in      Objs to     Bates
                             Description
Exhibit   Exhibit                                       September 12,        Exhibits    Number
                             of Exhibit
  No.       No.                                         Minute Order          Not Yet
                                                                             Admitted
                                                                                           USA-
                                                                                          004236
                                                                                           USA-
                     Defendant Facebook Records
                                                                             401, 403,    004485-
 306a       N/A      – Direct Messages with B.S.
                                                                               901         USA-
                         (Summary Version)
                                                                                          004488
                     Defendant Facebook Records        Admitted assuming
                       – Video Sent by Direct             a witness with                   USA-
 306.1      14                                                                 901
                        Message from B.S. to           personal knowledge                 002509
                             Defendant                   can authenticate

                       400 Series: Defendant
                     Cellular Telephone Records
                                                                                            USA-
                                                                                           002352
                       Defendant Verizon Call             Admitted (as
  400        3                                                                           (selected),
                             Records                       redacted)
                                                                                            USA-
                                                                                           002336
                                                                                            USA-
                     Defendant Cell Phone – Text                                          003154-
  401       15                                             Admitted
                         Messages with V.L.                                                 USA-
                                                                                           003164
                     Defendant Cell Phone – File                                            USA-
 401.1      N/A                                                              401, 403
                            Sent to V.L.                                                   004394
                                                                                            USA-
                     Defendant Cell Phone – Text                                          003165-
  402       16                                             Admitted
                         Messages with G.P.                                                 USA-
                                                                                           003169
                     Defendant Cell Phone – File                                            USA-
 402.1      N/A                                                              401, 403
                            Sent to G.P.                                                   004395
                                                                                            USA-
                     Defendant Cell Phone – Files                                         004396-
 402.2      N/A
                            Sent to G.P.                                                    USA-
                                                                                           004397

                      Remaining Exhibits with
                       Original Numbering
                                                       [To be removed if
                       Sec. 3331, Title 5 U.S.C.                                           USA-
             1                                         the parties reach a   401, 403
                       Oath, dated Apr. 8, 1996                                           003485
                                                          stipulation]


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                                                                        Defense
Current   Original                               Court’s Ruling in      Objs to    Bates
                           Description
Exhibit   Exhibit                                 September 12,        Exhibits   Number
                           of Exhibit
  No.       No.                                   Minute Order          Not Yet
                                                                       Admitted
                                                                                   USA-
                                                 [To be removed if
                     USCP Schedule, January 6,                                    001887-
             2                                   the parties reach a     106
                              2021                                                 USA-
                                                    stipulation]
                                                                                  001897




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